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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                         2/13/2025
UNITED STATES OF AMERICA,

                            Plaintiff,                   25 Civ. 215 (VM)

                   - against -                           ORDER

GLOBAL BUSINESS TRAVEL GROUP, INC. and
CWT HOLDINGS, LLC,

                            Defendants.


VICTOR MARRERO, United States District Judge.

       Plaintiff       the     United        States      of   America        (the

“Government”) seeks to permanently enjoin the proposed merger

of defendants Global Business Travel Group, Inc. (“Amex GBT”)

and CWT Holdings, LLC (“CWT,” and together with Amex GBT,

“Defendants”) pursuant to Section 7 of the Clayton Act. (See

Dkt. No. 1.) Before the Court are two motions by Defendants

and one motion by the Government: (1) Defendants’ motion for

reconsideration of the Court’s Order dated January 24, 2025,

(“January 2025 Order,” Dkt. No. 19), which denied Defendants’

request for an expedited case management conference and set

a trial date of September 8, 2025, (2) Defendants’ motion to

seal   Exhibit     A   to    the   Declaration      of   Michael    F.   Murray

(“Exhibit A”), which was filed in support of Defendants’

motion for reconsideration, and (3) the Government’s motion

to seal the Government’s oppositions to Defendants’ motion

for reconsideration and motion to seal, as well as Exhibits


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A through J to the Declaration of Jeffrey Vernon (the “Vernon

Declaration”),         which      were     filed     in      support      of     both

oppositions. For the reasons discussed below, Defendants’

motion for reconsideration is DENIED, Defendants’ motion to

seal    is    GRANTED      IN    PART    and     DENIED    IN     PART,    and    the

Government’s motion to seal is GRANTED IN PART and DENIED IN

PART.

                     I.     MOTION FOR RECONSIDERATION

        A.      LEGAL STANDARD

        Local       Rule     6.3,        which      governs           motions     for

reconsideration,           “is   intended      to   ensure      the    finality    of

decisions and to prevent the practice of a losing party

examining a decision and then plugging the gaps of a lost

motion       with   additional       matters.”       SEC     v.       Ashbury    Cap.

Partners, L.P., No. 00 Civ. 7898, 2001 WL 604044, at *1

(S.D.N.Y. May 31, 2001) (citation omitted). When assessing a

motion for reconsideration, a district court must “narrowly

construe and apply” Local Rule 6.3 to “avoid duplicative

rulings on previously considered issues.” Montanile v. Nat'l

Broad. Co., 216 F. Supp. 2d 341, 342 (S.D.N.Y. 2002). Whether

to grant or deny a motion for reconsideration is “within the

sound discretion of the district court.” United States v. Ng

Lap Seng, No. 15 Cr. 706, 2021 WL 961749, at *3 (S.D.N.Y.

Mar. 15, 2021) (citation omitted).



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        Reconsideration of a prior order is an “extraordinary

remedy to be employed sparingly in the interests of finality

and conservation of scarce judicial resources.” Sikhs for

Just. v. Nath, 893 F. Supp. 2d 598, 605 (S.D.N.Y. 2012)

(citation           omitted).       “The       major        grounds        justifying

reconsideration are an intervening change of controlling law,

the availability of new evidence, or the need to correct a

clear       error    or   prevent    manifest        injustice.”         Virgin       Atl.

Airways, Ltd. v. Nat’l Mediation Bd., 956 F.2d 1245, 1255 (2d

Cir.    1992)       (citation     omitted).         However,      a    party   seeking

reconsideration cannot repeat “arguments already briefed,

considered and decided” or “advance new facts, issues or

arguments not previously presented to the Court.” Nath, 893

F. Supp. 2d at 605 (citation omitted). The standard of review

for     a     motion      for     reconsideration            is       “strict,”        and

reconsideration “will generally be denied unless the moving

party can point to controlling decisions or data that the

court       overlooked     —    matters,       in   other    words,       that       might

reasonably be expected to alter the conclusion reached by the

court.” Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d

Cir. 1995).

        B.     RECONSIDERATION IS NOT WARRANTED

        Defendants insist that the September 8, 2025, trial date

will cause manifest injustice and urge the Court to set an


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earlier trial date of May 27, 2025. Defendants make two

arguments in support of this position: (1) Exhibit A supports

the need for a speedy resolution of this case, and (2) the

current     case   timeline    is   substantially        longer      than     many

recent merger cases. Upon a careful review of the parties’

submissions and the Court’s January 2025 Order, the Court

finds that Defendants fail to point to law or facts that the

Court did not take into account in the January 2025 Order

that may materially alter the Court’s decision.

       First, Defendants submitted Exhibit A only in support of

their motion for reconsideration, not their original motion

for    an   expedited   case    management        conference      and      trial.

Defendants     cannot   “advance      new     facts”    in    a   motion       for

reconsideration that were “not previously presented to the

Court.” Nath, 893 F. Supp. 2d at 605 (citation omitted). Nor

can    Defendants     justify       reconsideration          based    on      “the

availability of new evidence” because Exhibit A was available

when Defendants submitted their original motion. Virgin Atl.

Airways, Ltd., 956 F.2d at 1255. Ultimately, “[a] motion for

reconsideration is not a party's opportunity to put forward

evidence that he could have, but failed, to provide the Court

when   the   Court    initially      considered       the    motion.”        India

Globalization Cap., Inc. v. Apogee Fin. Invs., Inc., No. 21

Civ. 1131, 2023 WL 5003347, at *1 (S.D.N.Y. Aug. 4, 2023)


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(citation        omitted).    Accordingly,        the        Court   will     not

reconsider the January 2025 Order on the basis of Exhibit A.

          Second, Defendants’ argument that the case timeline is

too       long   because   trial   will   begin    241        days   after    the

Government filed this action is unpersuasive. “In the context

of    a    motion   for    reconsideration,     manifest         injustice    is

defined as an error [committed by] the trial court that is

direct, obvious, and observable.” Idowu v. Middleton, No. 12

Civ. 1238, 2013 WL 371657, at *1 n.1 (S.D.N.Y. Jan. 31, 2013)

(citation        omitted).     Reconsideration          is     generally      not

warranted “unless the prior decision is ‘dead wrong.’” OGI

Oceangate Transp. Co. Ltd. v. RP Logistics Pvt. Ltd., No. 06

Civ. 9441, 2007 WL 2900225, at *1 n.1 (S.D.N.Y. Oct. 4, 2007)

(citation omitted); Corsair Special Situations Fund, L.P. v.

Nat'l Res., 595 F. App'x 40, 44 (2d Cir. 2014) (noting that

the manifest injustice standard “provide[s] relief only in

the proverbial rare case” (citation omitted)).

          Defendants urge the Court to reset the trial date for

May 27, 2025 - 137 days after the complaint was filed.

However, Defendants’ cited authorities do not support that

the 241-day complaint-to-trial timeline here constitutes a

manifest injustice. See Virgin Atl. Airways, Ltd., 956 F.2d

at 1255. Most of the shorter timelines cited by Defendants

were between the filing of the complaint and a preliminary


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injunction hearing, not trial. (See Dkt. No. 28 at 5.) “Given

the   hasty   nature     of    the    proceedings          on    a    motion      for   a

preliminary injunction, a party is not required or expected

to present its case in full” at the preliminary injunction

stage. Endo Pharms., Inc. v. Roxane Lab'ys, Inc., No. 13 Civ.

03288, 2014 WL 6390297, at *2 (S.D.N.Y. Nov. 14, 2014). Thus,

it is unsurprising that preliminary injunction hearings are

scheduled within a shorter timeframe compared to trials.

      Moreover,     the       cases        cited     for    complaint-to-trial

timelines     do   not        suggest          any   “direct,         obvious,        and

observable”    error      that    justifies          reconsideration             of   the

January 2025 Order. See Idowu, 2013 WL 371657, at *1 n.1.

For   example,     Defendants         do       not   explain         how   the      cited

complaint-to-trial        timelines            of    221   to        238   days       are

meaningfully different than the case timeline here. (See Dkt.

No. 28 at 5.) Rather, these cases weaken Defendants’ position

that the 241-day timeline is an obvious error. Further, that

shorter timelines were adopted in a handful of cases does not

meet Defendants’ high burden for reconsideration. (See id.)

“The fact that this Court analyzed the existing, relevant

authority differently than another judge did and reached a

contrary result, or that [the moving party] disagrees with

this Court's reasoning, is not grounds for reconsideration.”

Williams v. MTA Bus Co., No. 17 Civ. 7687, 2020 WL 4904058,


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at   *2    (S.D.N.Y.    Aug.   20,    2020).    Thus,       for   the   reasons

discussed above, the Court denies Defendants’ motion for

reconsideration.

                         II.    MOTIONS TO SEAL

      A.     LEGAL STANDARD

      Motions    to    seal    must   be   “carefully       and   skeptically

review[ed]” in order to “insure that there really is an

extraordinary circumstance or compelling need” to seal the

documents from public inspection. In re Orion Pictures Corp.,

21 F.3d 24, 27 (2d Cir. 1994). There is a long-established

“general presumption in favor of public access to judicial

documents.” Collado v. City of New York, 193 F. Supp. 3d 286,

288 (S.D.N.Y. 2016). Thus, if the documents at issue are

judicial documents, a common law right of public access

attaches, which may be overcome only upon a showing of good

cause. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119-

20 (2d Cir. 2006).

      The Second Circuit has outlined a three-step process to

determine whether the presumption of public access applies to

a particular document and bars public disclosure. United

States v. Erie Cnty., N.Y., 763 F.3d 235, 239 (2d Cir. 2014).

Initially, the court must determine whether the document is

a judicial document. Id. If so, the court must then determine

the weight of the public access presumption. Id. The strength



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of   the    presumption    varies   based    on    the     contents   of    the

document: “Generally, the information will fall somewhere on

a continuum from matters that directly affect an adjudication

to matters that come within a court's purview solely to insure

their irrelevance.” Locus Techs. v. Honeywell Int'l Inc., No.

19 Civ. 11532, 2024 WL 5103334, at *1 (S.D.N.Y. Dec. 13, 2024)

(citation omitted). Finally, the court must balance competing

considerations against disclosure. See Erie Cnty., N.Y., 763

F.3d at 239.

       B.    DEFENDANTS’ MOTION TO SEAL

       Defendants seek permission to seal Exhibit A, which is

a    submission   by    Defendant   CWT     to     the   United    Kingdom’s

Competition     and    Markets   Authority       (“CMA”)     regarding      its

proposed     acquisition    by   Amex     GBT. 1    (See    Dkt.   No.     30.)

Defendants request that Exhibit A be sealed in its entirety,

or, if the motion to seal is denied, that Exhibit A be struck

from the record. (See id. at 1.) The Government opposes

Defendants’ motion to seal Exhibit A. (See Dkt. No. 44.) For

the reasons explained below, Defendants are directed to file




1Although the Court will not consider Exhibit A in relation to Defendants’
motion for reconsideration for the reasons discussed above, the Court
will consider Defendants’ motion to seal Exhibit A because once
submissions “come to the attention of the district judge, they can fairly
be assumed to play a role in the court’s deliberations.” Lugosch, 435
F.3d at 123 (citation omitted).



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Exhibit      A   on     the    public      docket      with    narrowly         tailored

redactions.

      Here, Defendants concede that Exhibit A is a judicial

document. (See Dkt. No. 30 at 2.) Turning to the second

consideration, Defendants argue that the strength of the

public access presumption is diminutive because Exhibit A has

minimal value to the merits of this case and is only relevant

to the motion for reconsideration. (Dkt. No. 30 at 2-3.)

However, many of CWT’s representations to the CMA in Exhibit

A   mirror       defenses      Defendants        intend       to    invoke      in   this

litigation.        (See       Dkt.   No.    28    at    2.)        Accordingly,       the

presumption        of   public       access     for    Exhibit       A    is    afforded

substantial weight. See In re N.Y.C. Policing During Summer

2020 Demonstrations, 635 F. Supp. 3d 247, 253 (S.D.N.Y. 2022).

      Turning to the final consideration, Defendants have not

pointed to competing interests that outweigh the presumption

of public access. Defendants argue that Exhibit A contains

“closely guarded material” and public disclosure of this

material “would cause significant and irreparable harm to CWT

if not sealed.” (Dkt. No. 30 at 3.) Defendants’ position is

too   broad.      “The    party       opposing        disclosure         must    make   a

particular and specific demonstration of fact showing that

disclosure would result in an injury sufficiently serious to

warrant protection; broad allegations of harm unsubstantiated


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by specific examples or articulated reasoning fail to satisfy

the test.” In re Parmalat Secs. Litig., 258 F.R.D. 236, 244

(S.D.N.Y. 2009) (collecting cases). See also Encyclopedia

Brown Prods., Ltd. v. Home Box Off., Inc., 26 F. Supp. 2d

606,    613    (S.D.N.Y.      1998)   (“With      respect     to   proof    of

competitive harm, vague and conclusory allegations will not

suffice. Movant must prove that disclosure would work a

clearly       defined   and    very     serious     injury.”       (citations

omitted)). While the Court is mindful that Exhibit A may

contain sensitive business materials, Defendants have not

sufficiently justified why a blanket seal of this document is

appropriate.

       For the reasons discussed above, Defendants’ motion to

seal Exhibit A in its entirety is denied. Defendants are

directed to file Exhibit A with narrowly tailored redactions

on the public docket in compliance with this Order and the

Stipulated      Protective     Order.      (See   Stipulated       Protective

Order, Dkt. No. 38.)

       C.     THE GOVERNMENT’S MOTION TO SEAL

       Adhering to a request by CWT’s counsel, the Government

seeks to file its oppositions and supporting documents under

seal. (See Dkt. No. 41.) The Government has already submitted

redacted versions of these documents. However, the Government

opposes filing any of these documents under seal and asks the


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Court to deny the Government’s motion to seal or, in the

alternative, asks the Court to order narrower redactions to

satisfy    the   standards      for     sealing      documents        from   public

access.   (See     id.)    In   light    of    the    Court’s       directive      to

Defendants    to    file    Exhibit     A     on    the   public      docket      with

narrowly tailored redactions, the Court also finds that the

Government’s     proposed       redactions         should    be    more   narrowly

tailored. The Government is directed to file its oppositions

and    supporting    documents        with    revised       redactions       on    the

public docket in compliance with this Order and the Stipulated

Protective Order. (See Stipulated Protective Order, Dkt. No.

38.)



SO ORDERED.

Dated:       13 February 2025
             New York, New York




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